

People ex rel. Cassar v Toulon (2021 NY Slip Op 00100)





People ex rel. Cassar v Toulon


2021 NY Slip Op 00100


Decided on January 8, 2021


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on January 8, 2021
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

WILLIAM F. MASTRO, A.P.J.
SYLVIA O. HINDS-RADIX
VALERIE BRATHWAITE NELSON
ANGELA G. IANNACCI, JJ.


2020-09753	DECISION, ORDER &amp; JUDGMENT

[*1]The People ex rel. Christopher J. Cassar, on behalf of Li Fang, petitioner, 
vErrol D. Toulon, Jr., etc., et al., respondents.


Cassar Law Firm, P.C., Huntington, NY (Christopher J. Cassar pro se of counsel), for petitioner.
Timothy D. Sini, District Attorney, Riverhead, NY (Lucie M. Kwon of counsel), respondent pro se, and for respondent Errol D. Toulon, Jr.
Writ of habeas corpus in the nature of an application to set reasonable bail for Li Fang upon Suffolk County Docket No. CR-032572-20SU.



ADJUDGED that the writ is sustained and bail on Suffolk County Docket No. CR-032572-20SU, is fixed in the sum of $187,500 in the form of an insurance company bail bond, $375,000 in the form of a partially secured bond with the requirement of 10% down, or $75,000 deposited as a cash bail alternative, with a bail source hearing to be held pursuant to CPL 520.30, on condition that, in addition to posting a bond or depositing the cash alternative set forth above, Li Fang shall (1) surrender all passports, if any, she may have to the Office of the District Attorney of Suffolk County, or, if she does not possess a passport, provide to the Office of the District Attorney of Suffolk County an affidavit, in a form approved by the Office of the District Attorney of Suffolk County, in which she attests that she does not possess a passport, and shall not apply for any new or replacement passports; (2) wear an electronic monitoring bracelet, with monitoring services to be provided by a qualified entity pursuant to CPL 510.40(4)(c), and any violations of the conditions set forth herein relating to the electronic monitoring shall be reported by the electronic monitoring service provider to the Office of the District Attorney of Suffolk County; and (3) provide to the Office of the District Attorney of Suffolk County an affidavit, in a form approved by the Office of the District Attorney of Suffolk County, in which she attests that if she leaves the jurisdiction she agrees to waive the right to oppose extradition from any foreign jurisdiction; and it is further,
ORDERED that upon receipt of a copy of this decision, order and judgment together with proof that Li Fang has posted bail in the sum of $187,500 in the form of an insurance company bail bond, $375,000 in the form of a partially secured bond with the requirement of 10% down, or $75,000 deposited as a cash bail alternative, subsequent to the bail source hearing held pursuant to CPL 520.30, has arranged for electronic monitoring with a qualified entity pursuant to CPL 510.40(4)(c), has surrendered all passports, if any, she may have to the Office of the District Attorney of Suffolk County, or, if she does not possess a passport, provide to the Office of the District Attorney of Suffolk County an affidavit, in a form approved by the Office of the District Attorney of Suffolk County, attesting that she does not possess a passport, and has provided the Office of the District Attorney of Suffolk County with an affidavit, in a form approved by the Office of the District Attorney of Suffolk County, attesting that if she leaves the jurisdiction she agrees to [*2]waive her right to oppose extradition from any foreign jurisdiction, the Warden of the facility at which Li Fang is incarcerated, or his or her agent, is directed to immediately release Li Fang.
MASTRO, A.P.J., HINDS-RADIX, BRATHWAITE NELSON and IANNACCI, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








